Case: 2:20-cv-02129-EAS-CMV Doc #: 15-8 Filed: 04/30/20 Page: 1 of 6 PAGEID #: 203




                     Exhibit H
Case: 2:20-cv-02129-EAS-CMV Doc #: 15-8 Filed: 04/30/20 Page: 2 of 6 PAGEID #: 204
Case: 2:20-cv-02129-EAS-CMV Doc #: 15-8 Filed: 04/30/20 Page: 3 of 6 PAGEID #: 205
Case: 2:20-cv-02129-EAS-CMV Doc #: 15-8 Filed: 04/30/20 Page: 4 of 6 PAGEID #: 206
Case: 2:20-cv-02129-EAS-CMV Doc #: 15-8 Filed: 04/30/20 Page: 5 of 6 PAGEID #: 207
Case: 2:20-cv-02129-EAS-CMV Doc #: 15-8 Filed: 04/30/20 Page: 6 of 6 PAGEID #: 208
